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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 THE MOODY BIBLE INSTITUTE OF
 CHICAGO,

                Plaintiff,                           Case No.

 v.                                                  Judge

 TIY-E MUHAMMAD, and
 ONELOVE COUNSELING SERVICES                         DEMAND FOR A JURY TRIAL
 (TM), LLC

                Defendant.

                                          COMPLAINT

       For its complaint against Defendant Tiy-E Muhammad (“Defendant Muhammad” or

“Muhammad”) and Defendant OneLove Counseling Services (TM), LLC (“Defendant OneLove”

or “OneLove”) (collectively, “Defendants”), Plaintiff The Moody Bible Institute of Chicago

(“Plaintiff” or “Moody”) alleges and states as follows:

                                PRELIMINARY STATEMENT

       1.      This is an action for infringement of Plaintiff’s incontestable federally registered

trademarks, including THE 5 LOVE LANGUAGES (Reg. No. 4,636,739), THE FIVE LOVE

LANGUAGES (Reg. No. 3,810,681), and common law trademark rights associated with the

associated family of marks (collectively, Reg. Nos. 4,636,739 and 3,810,681 and the associated

family of common law trademarks shall be referred to as the “LOVE LANGUAGES Marks”)

under 15 U.S.C. § 1114; unfair competition and false designation of origin under 15 U.S.C.

§ 1125(a); dilution under 15 U.S.C. § 1125(c); cybersquatting under 15 U.S.C. § 1125(d); unfair

competition under the Illinois Deceptive Trade Practices Act, and for substantial and related claims

of trademark infringement under the common laws of the State of Illinois.

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       2.      These causes of action all arise from Defendants’ infringing use of BLACK LOVE

LANGUAGES in connection with their marketing, advertising, promotion, and offering of

publishing services for books, e-books, audiobooks, oral presentations, music, and illustrations as

well as their marketing, advertising, promotion, and offering of relationship and marriage

counseling services.

       3.      Goods and services in connection with Plaintiff’s LOVE LANGUAGES Marks,

including publications, printed materials, and related goods and services, have been in the

marketplace for nearly thirty years. Defendants’ recent launch of competing and confusingly

similar publishing and relationship counseling services under the trademark BLACK LOVE

LANGUAGES is likely to cause consumer confusion. Plaintiff seeks permanent injunctive relief

and an award of profits and actual damages, among other remedies, for Defendants’ unlawful and

willful conduct.

                                           PARTIES

       4.      Plaintiff The Moody Bible Institute of Chicago is an Illinois not-for-profit

corporation with a business address at 820 North LaSalle Boulevard, Chicago, Illinois 60610.

       5.      On information and belief, Defendant Tiy-E Muhammad is an individual domiciled

at 645 West 9th Street, Los Angeles, California 90015.

       6.      On information and belief, Defendant OneLove Counseling Services (TM), LLC is

a Georgia limited liability company with its principal place of business at 570 Piedmont Ave NE,

Suite #55501, Atlanta, Georgia 30308.

                                JURISDICTION AND VENUE

       7.      This action arises under the Trademark Act of 1946, commonly known as the

Lanham Act, 15 U.S.C. § 1051, et seq., the Illinois Deceptive Trade Practices Act, and Illinois

common law.

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       8.      This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331, 1338, 1367,

and 15 U.S.C. § 1121.

       9.      This Court has personal jurisdiction over Defendants because they purposefully

conduct business in the State of Illinois, and within this district, including providing availability

for the purchase of its services sold under an infringing trademark over the Internet to Illinois

consumers and businesses and directly targeting Illinois consumers through their website. For

example, Illinois consumers can visit blacklovelanguages.com and search for relationship

therapists in “Illinois.” Defendants offer Illinois consumers 46 different options for therapists who

reside in Illinois, including one therapist who specializes in “faith-based Christian counseling.”

Consumers may click on a link to any of the more than 40 Illinois therapists, read a short biography,

and contact them by phone or email. Illinois consumers may also seek Defendants’ publishing

services through the website. Exhibit G. On information and belief, Defendants have made contact

with some or all Illinois therapists listed on Defendants’ website.

       10.     Venue is proper in this district under 28 U.S.C. § 1391(b)(2), because a substantial

part of the events or omissions giving rise to the claim occurred in this district. Defendants’ use of

BLACK LOVE LANGUAGES is infringing Plaintiff’s LOVE LANGUAGES Marks and is

causing harm in this state and district, and Defendants are subject to personal jurisdiction here.

                                  FACTUAL BACKGROUND

A.     Plaintiff’s LOVE LANGUAGES Trademark Registrations and Applications

       11.     The Moody Bible Institute was founded in 1886 to educate people for Christian

ministry. Since its founding, Moody has maintained its main campus in Near North Side, Chicago.

       12.     In addition to its undergraduate, graduate, online, conferences, correspondence,

certificate, and other educational offerings, Moody equips people with Biblical training and

perspective through its two major media ministries Moody Radio and Moody Publishers.

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        13.    Moody’s radio ministry began in 1926 when it launched the first non-commercial

Christian radio station in the United States. Moody Radio continues to grow, and its content is now

available globally through more than over 1,800 radio outlets, digital apps, and streaming Internet

stations.

        14.    Moody’s non-profit Christian publishing ministry Moody Publishers began more

than 125 years ago in the same Near North Side, Chicago neighborhood as the Moody Bible

Institute did. Moody Publishers has multiple publishing imprints, including Northfield Publishing.

        15.    Since its founding by D. L. Moody in 1894, Moody Publishers has distributed more

than 300 million books, spanning from Bible commentary and reference to spiritual and relational

growth, as well as award-winning fiction. Moody Publishers’ offerings are available in more than

71 languages and more than 130 countries around the world.

        16.    Dr. Gary Chapman, Ph.D., pastor, speaker, and author of the publications and

printed materials bearing the LOVE LANGUAGES Marks, has a passion for people and for

helping them form loving and lasting relationships. Dr. Chapman is a well-known marriage

counselor and director of marriage seminars. Dr. Chapman travels the world presenting seminars

on marriage, family, and relationships, and his radio programs air on more than 400 stations.

        17.    The goods sold under the LOVE LANGUAGES Marks, as owned by Plaintiff, are

some of Moody Publishers’ and Dr. Chapman’s most popular titles. Dr. Chapman and Plaintiff

launched multiple series of publications, books, podcasts, seminars, and other related goods and

services under the LOVE LANGUAGES Marks at least as early as 2007, though THE FIVE LOVE

LANGUAGES Mark has priority dating back to 1992.




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       18.     Series of publications bearing the LOVE LANGUAGES Marks have sold more

than twenty million copies worldwide, have been translated into at least fifty languages, and have

been on the New York Times best-sellers list since 2007.

       19.     Dr. Chapman’s and Moody’s series of publications, books, podcasts, seminars, and

other related goods and services bearing the LOVE LANGUAGES Marks relate to personal skills

and relationships and how relationships grow better when individuals understand each other and

further their shared goal of forming loving and lasting relationships.

       20.     Through Dr. Chapman’s extensive professional counseling experiences and

research on effective communication and fulfillment in relationships, including personal,

professional, romantic and plutonic relationships, involving individuals of all age groups and

genders, he has identified five means of expressing affection: words of affirmation, acts, of service,

receiving gifts, quality time, and physical touch. These five affection expressions are referred to

by Dr. Chapman in his various publications through the coined trademarks THE FIVE LOVE

LANGUAGES®, LOVE LANGUAGES", or individually as the coined trademark LOVE

LANGUAGE" (referred to herein as LOVE LANGUAGE(S)). Dr. Chapman has dedicated the

better part of his life and ministry to creating, spreading, and applying the LOVE LANGUAGES

to building strong, long-lasting relationships.

       21.     Dr. Chapman introduced the LOVE LANGUAGES to the world in 1992 through

his New York Times Bestseller book The Five Love Languages: How to Express Heartfelt

Commitment to Your Mate. In the book, Dr. Chapman breaks down the LOVE LANGUAGES and

asks readers to complete a series of questions formulated through his extensive research to identify

their primary LOVE LANGUAGE, understand what it means, and learn how to use it to better




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connect and communicate with others. This series of questions was originally known as THE 5

LOVE LANGUAGES® quiz and is now known as the LOVE LANGUAGE" quiz.

       22.     Today, consumers access the LOVE LANGUAGE" quiz through Plaintiff’s

website www.5lovelanguages.com. Nearly eighty million consumers have taken the LOVE

LANGUAGE" quiz online and engaged with the LOVE LANGUAGES Marks through that

platform.

       23.     Dr. Chapman’s process helps consumers identify the primary LOVE LANGUAGE

to which they respond most positively, i.e., is the most natural affection expression, as compared

to the others. Identifying a person’s LOVE LANGUAGE enables those individuals around the

person, whether romantic partners, family members, coworkers, or friends, to identify and

accordingly adjust their words and behavior to more effectively communicate love to the person.

For that reason, consumers can also use the results of the LOVE LANGUAGE" quiz to identify

and accordingly adjust their words and behavior to more effectively communicate love to other

individuals with whom they interact. In 2012, Moody and Dr. Chapman introduced the LOVE

LANGUAGE" Challenge, a mobile app encouraging consumers to apply these concepts in their

relationships. The LOVE LANGUAGE" Challenge lasted seven years and was taken by 1.3

million consumers.

       24.     Consumers     who    have    taken   the    LOVE     LANGUAGE"           quiz   on

5lovelanguages.com can access other resources such as the LOVE LANGUAGES

DEVOTIONAL BIBLE", 101 Conversation Starters that is sold as the perfect companion to the

bestselling books, THE 5 LOVE LANGUAGES® of Children, and THE 5 LOVE

LANGUAGES® of Teenagers, or listen to podcasts such as A LOVE LANGUAGE" MINUTE,

among scores of other resources bearing the LOVE LANGUAGES Marks.



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       25.     LOVE NUDGETM, the official LOVE LANGUAGETM mobile app, is a fun, habit-

forming mobile application that helps consumers intentionally express love in ways that are most

meaningful to their partner. The LOVE NUDGE" app is an extension of Dr. Chapman’s best-

selling publications and uses the LOVE LANGUAGES Marks throughout the app.

       26.     The LOVE NUDGE" app has nearly three million user downloads. It is available

for download on the App Store and Google Play. The LOVE NUDGE" app has been featured in

Apple’s App Store as the App of the Day and has consistently ranked as a top app (ranking at least

as high as #8 in Apple’s Lifestyle category for mobile apps).

       27.     Given the widespread readership of Moody Publishers and Dr. Chapman’s

publications, participation in the LOVE LANGUAGE" quiz, and engagement with the LOVE

NUDGE" app, there is no doubt that Plaintiff has built a devoted and significant consumer

following around the LOVE LANGUAGES Marks that trusts and relies on Dr. Chapman’s

knowledge and expertise in guiding their words and actions and in maintaining and growing their

most valued personal and professional relationships.

       28.     Moody owns several trademark registrations and applications for its LOVE

LANGUAGES Marks in connection with the above-listed goods and services, including but not

limited to:

                                                                            Class & Goods or
      Mark          Ser. No.    Filing Date   Reg. No.     Reg. Date
                                                                                 Services
                                                                        016 - Series of
                                                                        publications, namely,
  THE FIVE                                                              books, pamphlets,
    LOVE   77/870,622 11/11/2009 3,810,681                 6/29/2010    brochures and printed
 LANGUAGES                                                              materials related to
                                                                        personal skills and
                                                                        relationships




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                                                                   Class & Goods or
   Mark        Ser. No.   Filing Date   Reg. No.   Reg. Date
                                                                        Services
                                                               009 - Electronic
                                                               publications, namely,
                                                               downloadable e-books in
                                                               the field of personal
                                                               skills and relationships;
                                                               Downloadable software
                                                               in the nature of a mobile
                                                               application regarding
                                                               personal skills and
                                                               relationships; Audio and
                                                               video recordings
                                                               featuring information
                                                               and advice about
                                                               personal skills and
                                                               relationships; Audio
                                                               books in the field of
                                                               personal skills and
                                                               relationships; Pre-
                                                               recorded DVDs featuring
                                                               information and advice
                                                               about personal skills and
THE 5 LOVE                                                     relationships
           86/236,645     3/31/2014     4,636,739 11/11/2014
LANGUAGES
                                                               016 - Series of
                                                               publications, namely,
                                                               books, pamphlets,
                                                               brochures related to
                                                               personal skills and
                                                               relationships; printed
                                                               materials, namely,
                                                               calendars and greeting
                                                               cards containing themes
                                                               related to personal skills
                                                               and relationships

                                                               041 - Providing a
                                                               website featuring blogs
                                                               and non-downloadable
                                                               publications in the nature
                                                               of articles and study
                                                               guides in the fields of
                                                               personal skills and
                                                               relationships; Providing
                                                               a website featuring non-

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                                                                    Class & Goods or
   Mark        Ser. No.   Filing Date   Reg. No.    Reg. Date
                                                                         Services
                                                                downloadable videos and
                                                                audio recordings
                                                                concerning information
                                                                and advice about
                                                                personal skills and;
                                                                Educational services,
                                                                namely, conducting
                                                                conferences, seminars,
                                                                webinars in the field of
                                                                personal skills and
                                                                relationships

                                                                045 - Providing a
                                                                website featuring
                                                                information and advice
                                                                about personal skills and
                                                                relationships, not for
                                                                entertainment purposes
THE 5 LOVE
           86/544,665     2/24/2015     5,581,100   10/9/2018   014 - Jewelry
LANGUAGES
   LOVE                                                         028 - Playing cards;
           88/840,395     3/19/2020     6,481,595   9/14/2021
LANGUAGE                                                        Board games
   LOVE
           97/040,806     9/22/2021                             016 - Printed Bibles
LANGUAGES
                                                                009 - Electronic
                                                                publications;
                                                                downloadable software;
                                                                audio recordings, video
                                                                recordings, audio books,
                                                                DVDs, MP3 files,
                                                                apparatus and
                                                                instruments for
                                                                recording, transmitting,
   LOVE
          97/040,805      9/22/2021                             reproducing or
LANGUAGES
                                                                processing sound,
                                                                images or data; recorded
                                                                and downloadable
                                                                media, computer
                                                                software; Downloadable
                                                                podcasts; downloadable
                                                                software in the form of a
                                                                mobile application; all of
                                                                the foregoing related to


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                                                                   Class & Goods or
   Mark        Ser. No.   Filing Date   Reg. No.   Reg. Date
                                                                         Services
                                                               religious, spiritual,
                                                               ethical, and social topics




  LOVE                                                         016 - Series of
             97/092,022 10/25/2021
LANGUAGE                                                       publications
                                                               021 - glassware and
                                                               goods made of porcelain,
  LOVE
             90/889,088   8/17/2021                            ceramic, earthenware,
LANGUAGE
                                                               terra-cotta or glass; water
                                                               bottles
                                                               021 - glassware and
                                                               goods made of porcelain,
   LOVE
          90/889,085      8/17/2021                            ceramic, earthenware,
LANGUAGES
                                                               terra-cotta or glass; water
                                                               bottles
                                                               025 - Apparel, namely,
  LOVE                                                         footwear, headwear, and
             90/889,084   8/17/2021
LANGUAGE                                                       loungewear; infant
                                                               clothing
                                                               025 - Apparel, namely,
   LOVE                                                        footwear, headwear, and
          90/889,081      8/17/2021
LANGUAGES                                                      loungewear; infant
                                                               clothing
                                                               028 - Toys; apparatus for
                                                               playing games and
                                                               sports; amusement and
                                                               novelty items; puzzle
  LOVE
             90/889,079   8/17/2021                            games; Christmas tree
LANGUAGE
                                                               ornaments and
                                                               decorations; holiday and
                                                               seasonal decorations and
                                                               home décor
                                                               028 - Toys; apparatus for
                                                               playing games and
                                                               sports; amusement and
                                                               novelty items; puzzle
   LOVE
          90/889,075      8/17/2021                            games; Christmas tree
LANGUAGES
                                                               ornaments and
                                                               decorations; holiday and
                                                               seasonal decorations and
                                                               home décor


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                                                                   Class & Goods or
   Mark        Ser. No.   Filing Date   Reg. No.   Reg. Date
                                                                         Services
                                                               041 - Education services,
                                                               training services,
                                                               production and
                                                               distribution of radio
   LOVE                                                        programs, organizing
          90/889,106      8/17/2021
LANGUAGES                                                      exhibitions and
                                                               conferences, publication
                                                               of books, journals, blogs
                                                               and other texts in print
                                                               and online
                                                               043 - Services for
  LOVE                                                         providing food and
             90/889,104   8/17/2021
LANGUAGE                                                       drink; temporary
                                                               accommodations
                                                               043 - Services for
   LOVE                                                        providing food and
          90/889,102      8/17/2021
LANGUAGES                                                      drink; temporary
                                                               accommodations
                                                               045 - Providing a
                                                               website featuring
                                                               information regarding
                                                               personal relationships;
                                                               Providing a website
                                                               featuring information in
                                                               the fields of personal
  LOVE                                                         relationships, personal
             97/140,811 11/23/2021
LANGUAGE                                                       growth and motivation,
                                                               and self-fulfillment;
                                                               Providing spiritual and
                                                               philosophical guidance
                                                               in the field of personal
                                                               relationships; Counseling
                                                               services; preparation of
                                                               customized gift baskets
                                                               045 - Providing a
                                                               website featuring
                                                               information regarding
                                                               personal relationships;
   LOVE                                                        Providing a web site
          90/889,095      8/17/2021
LANGUAGES                                                      featuring information in
                                                               the fields of personal
                                                               relationships, personal
                                                               growth and motivation,
                                                               and self-fulfillment;

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                                                                   Class & Goods or
   Mark        Ser. No.   Filing Date   Reg. No.   Reg. Date
                                                                         Services
                                                               Providing spiritual and
                                                               philosophical guidance
                                                               in the field of personal
                                                               relationships; Counseling
                                                               services; preparation of
                                                               customized gift baskets
                                                               003 - Bath soaps; beauty
                                                               soaps; body soaps; body
                                                               lotions; face lotions;
                                                               hand lotions; bathing
                                                               lotions; beauty lotions;
                                                               non-medicated bath
                                                               salts; body oils; bath
   LOVE
          90/881,816      8/13/2021                            oils; essential oils for
LANGUAGES
                                                               personal use; massage
                                                               oils; gift baskets
                                                               containing non-
                                                               medicated bath
                                                               preparations, body
                                                               preparations, and
                                                               cosmetic preparations
   LOVE
             90/881,820   8/13/2021                            004 - Candles
LANGUAGE
   LOVE
             90/881,830   8/13/2021                            004 - Candles
LANGUAGES
   LOVE
             90/881,798   8/13/2021                            010 - Blankets
LANGUAGE
   LOVE
             90/881,810   8/13/2021                            010 - Blankets
LANGUAGES
   LOVE                                                        014 - Women’s jewelry;
             90/881,832   8/13/2021
LANGUAGE                                                       men’s jewelry
   LOVE                                                        014 - Women’s jewelry;
             90/881,835   8/13/2021
LANGUAGES                                                      men’s jewelry
                                                               020 - Pillows; bed
                                                               pillows; decorative
  LOVE                                                         pillows; novelty pillows;
             90/889,093   8/17/2021
LANGUAGE                                                       accent pillows; wall
                                                               plaques made of wood or
                                                               plastic
                                                               020 - Pillows; bed
   LOVE                                                        pillows; decorative
          90/889,091      8/17/2021
LANGUAGES                                                      pillows; novelty pillows;
                                                               accent pillows; wall


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                                                                   Class & Goods or
   Mark        Ser. No.   Filing Date   Reg. No.   Reg. Date
                                                                       Services
                                                               plaques made of wood or
                                                               plastic
   LOVE                                                        024 - Bed sheets; pillow
             90/881,836   8/13/2021
LANGUAGES                                                      cases and shams
   LOVE                                                        024 - Bed sheets; pillow
             90/881,839   8/13/2021
LANGUAGES                                                      cases and shams
   LOVE
             90/881,843   8/13/2021                            026 - Artificial flowers
LANGUAGE
   LOVE
             90/881,845   8/13/2021                            026 - Artificial flowers
LANGUAGES
   LOVE                                                        027 - Decorative wall
             90/881,849   8/13/2021
LANGUAGE                                                       hangings
   LOVE                                                        027 - Decorative wall
             90/881,850   8/13/2021
LANGUAGES                                                      hangings
                                                               030 - Gift baskets
  LOVE                                                         containing candy and
             90/881,852   8/13/2021
LANGUAGE                                                       confectionary products;
                                                               candy; confectioneries
                                                               030 - Gift baskets
   LOVE                                                        containing candy and
          90/881,854      8/13/2021
LANGUAGES                                                      confectionary products;
                                                               candy; confectioneries
   LOVE                                                        031 - Cut flowers; live
          90/889,126      8/17/2021
LANGUAGE                                                       flowers
   LOVE                                                        031 - Cut flowers; live
          90/889,121      8/19/2021
LANGUAGES                                                      flowers
                                                               035 - Online retail store
  LOVE                                                         services featuring a wide
             90/889,120   8/17/2021
LANGUAGE                                                       variety of consumer
                                                               goods and services
                                                               035 - Online retail store
   LOVE                                                        services featuring a wide
          90/889,118      8/17/2021
LANGUAGES                                                      variety of consumer
                                                               goods and services
                                                               039 - Providing travel
  LOVE                                                         and transport
             90/889,115   8/17/2021
LANGUAGE                                                       information services;
                                                               travel agency services
                                                               039 - Providing travel
   LOVE                                                        and transport
          90/889,111      8/17/2021
LANGUAGES                                                      information services;
                                                               travel agency services
  LOVE                                                         044 - Day spa services;
             90/889,101   8/17/2021
LANGUAGE                                                       beauty spa services;

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                                                                               Class & Goods or
      Mark          Ser. No.     Filing Date    Reg. No.    Reg. Date
                                                                                    Services
                                                                          health spa services for
                                                                          health and wellness of
                                                                          the body and spirit
                                                                          044 - Day spa services;
                                                                          beauty spa services;
    LOVE
           90/889,098             8/17/2021                               health spa services for
 LANGUAGES
                                                                          health and wellness of
                                                                          the body and spirit
                                                                          003 - Bath soaps; beauty
                                                                          soaps; body soaps; body
                                                                          lotions; face lotions;
                                                                          hand lotions; bathing
                                                                          lotions; beauty lotions;
                                                                          non-medicated bath
                                                                          salts; body oils; bath
   LOVE
                   90/881,812     8/13/2021                               oils; essential oils for
 LANGUAGE
                                                                          personal use; massage
                                                                          oils; gift baskets
                                                                          containing non-
                                                                          medicated bath
                                                                          preparations, body
                                                                          preparations, and
                                                                          cosmetic preparations
 THE 5 LOVE                                                               016 - Printed coloring
            97/040,803            9/22/2021
 LANGUAGES                                                                books
                                                                          016 - Printed matter,
                                                                          instructional and
                                                                          teaching materials;
                                                                          calendars; organizers;
                                                                          greeting cards; printed
                                                                          occasion cards; blank
                                                                          note cards; printed
   LOVE
                   97/047,728     9/27/2021                               postcards; blank paper
 LANGUAGE
                                                                          notebooks; printed
                                                                          coupon books; printed
                                                                          coloring books; pens;
                                                                          gift sets consisting
                                                                          primarily of printed
                                                                          messages, books, and
                                                                          paper goods

Copies of the registration certificates and titles, and statuses for the aforementioned registrations

and applications are attached as Exhibit A.

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       29.     As shown in the table above, Plaintiff is the owner of valid and subsisting U.S.

Trademark Registration No. 3,810,681, registered on the Principal Register in the United States

Patent and Trademark Office for the mark THE FIVE LOVE LANGUAGES.

       30.     The FIVE LOVE LANGUAGES mark issued on June 29, 2010, and has a priority

date of 1992 based on Plaintiff’s first use of THE FIVE LOVE LANGUAGES mark in connection

with the listed goods on that date.

       31.     U.S. Trademark Registration No. 3,810,681 for THE FIVE LOVE LANGUAGES

covers the following goods:

       Class 16: Series of publications, namely, books, pamphlets, brochures and printed
       materials related to personal skills and relationships.

       32.     THE FIVE LOVE LANGUAGES mark has become incontestable within the

meaning of Section 15 of the Lanham Act, 15 U.S.C. § 1065.

       33.     Plaintiff has used THE FIVE LOVE LANGUAGES mark in commerce

continuously since at least as early as 1992 in connection with the manufacture, distribution,

provision, offering for sale, sale, marketing, advertising, and promotion of the above listed goods.

Attached as Exhibit B are representative samples showing Plaintiff’s use of THE FIVE LOVE

LANGUAGES mark in connection with the registered goods.

       34.     As shown in the table above, Plaintiff is also the owner of valid and subsisting

United States Trademark Registration No. 4,636,739, registered on the Principal Register in the

United States Patent and Trademark Office, for the mark THE 5 LOVE LANGUAGES.

       35.     THE 5 LOVE LANGUAGES mark issued on November 11, 2014, and has a

priority date of 2010 based on Plaintiff’s first use of THE 5 LOVE LANGUAGES in connection

with the listed goods and services on that date.




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       36.     U.S. Trademark Registration No. 4,636,739 for THE 5 LOVE LANGUAGES

covers the following goods and services:

       Class 9: Electronic publications, namely, downloadable e-books in the field of
       personal skills and relationships; Downloadable software in the nature of a mobile
       application regarding personal skills and relationships; Audio and video recordings
       featuring information and advice about personal skills and relationships; Audio
       books in the field of personal skills and relationships; Pre-recorded DVDs featuring
       information and advice about personal skills and relationships.

       Class 16: Series of publications, namely, books, pamphlets, brochures related to
       personal skills and relationships; printed materials, namely, calendars and greeting
       cards containing themes related to personal skills and relationships.

       Class 41: Providing a website featuring blogs and non-downloadable publications
       in the nature of articles and study guides in the fields of personal skills and
       relationships; Providing a website featuring non-downloadable videos and audio
       recordings concerning information and advice about personal skills and;
       Educational services, namely, conducting conferences, seminars, webinars in the
       field of personal skills and relationships.

       Class 45: Providing a website featuring information and advice about personal
       skills and relationships, not for entertainment purposes.

       37.     THE 5 LOVE LANGUAGES mark has become incontestable within the meaning

of Section 15 of the Lanham Act, 15 U.S.C. § 1065.

       38.     Plaintiff has used THE 5 LOVE LANGUAGES mark in commerce continuously

since at least as early as 2010 in connection with the manufacture, distribution, provision, offering

for sale, sale, marketing, advertising, and promotion of the below listed goods and services.

Attached as Exhibit C are representative samples showing Plaintiff’s use of THE 5 LOVE

LANGUAGES mark in connection with the registered goods.

       39.     Plaintiff is also the owner of the common law rights of a family of formative LOVE

LANGUAGES Marks through its continuous use in interstate commerce with the aforementioned


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goods and services, including but not limited to, publications, printed materials, podcasts, radio

programs, and seminars, and related goods and services in connection to personal skills and

relationships. As a result of its widespread, continuous, and exclusive use of the LOVE

LANGUAGES Marks to identify its goods and services, Plaintiff owns valid and subsisting federal

statutory and common law rights in the LOVE LANGUAGES Marks.

       40.     Plaintiff’s LOVE LANGUAGES Marks are distinctive to both the consuming

public and Plaintiff’s trade.

       41.     Plaintiff has expended substantial time, money, and resources marketing,

advertising, and promoting its goods and services sold under the LOVE LANGUAGES Marks.

Plaintiff has advertised its goods and service on local, national, and international news outlets. In

addition, Plaintiff has advertised and promoted its goods and services sold under the LOVE

LANGUAGES Marks through Google Ads, Amazon Advertising, Facebook, Instagram, and

numerous national magazines such as People Magazine, Forbes, and the HuffPost.

       42.      The LOVE LANGUAGES Marks and the goods and services offered under them

have also received significant unsolicited coverage in various media and television shows,

including but not limited to the Oprah Winfrey Show and website, ABC’s Fresh Off the Boat,

TruTV’s I’m Sorry, E!’s Rob & Chyna, BBC’s Last Chance Lawyer NYC, The New York Times,

Cosmopolitan, People Magazine, Brides.com, and Bustle, among others.

       43.     Third parties recognizing the value of the LOVE LANGUAGES brand and

goodwill associated therewith have requested to license the LOVE LANGUAGES Marks from

Plaintiff in connection with a wide variety of goods and services. Plaintiff has granted such licenses

when they complement and/or extend the LOVE LANGUAGES brand, including but not limited

to the following: a LOVE LANGUAGETM Concierge at a high-end hotel and resort where patrons



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take the LOVE LANGUAGETM quiz and receive a curated itinerary based on their results; a co-

promotional campaign with an industry leading dating app that coincided with its initial public

offering where app users were invited to take the LOVE LANGUAGETM quiz and identify their

LOVE LANGUAGE in their profile; a co-promotional agreement with an industry leading flower

distributor for distribution of a custom THE 5 LOVE LANGUAGES" flower bouquet and

identification of the partner as “the official floral partner to THE 5 LOVE LANGUAGES® book”;

and a line of paper products (e.g., calendars, “love notes”, and coupon books) based on THE 5

LOVE LANGUAGES®.

       44.    Plaintiff offers and sells its goods and services under the LOVE LANGUAGES

Marks to anyone seeking relationship advice on how to effectively communicate and express love

to others. Representative samples of Plaintiff’s goods and services offered and sold under the

LOVE LANGUAGES Marks are listed below, evidence of which is attached hereto as Exhibit D:

              (i)     THE 5 LOVE LANGUAGES® of Children;

              (ii)    THE 5 LOVE LANGUAGES® for Men;

              (iii)   THE 5 LOVE LANGUAGES® Military Edition;

              (iv)    God Speaks Your LOVE LANGUAGE";

              (v)     THE 5 LOVE LANGUAGES® of Appreciation in the Workplace;

              (vi)    THE FIVE LOVE LANGUAGES®: Singles Edition;

              (vii)   The LOVE LANGUAGE" quiz;

              (viii) A LOVE LANGUAGE" MINUTE;

              (ix)    The LOVE LANGUAGES" Devotional Bible;

              (x)     THE 5 LOVE LANGUAGES® Coloring Book;

              (xi)    The 5 Apology Languages;



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               (xii)   THE 5 LOVE LANGUAGES® of Teenagers; and

               (xiii) Other books and content featuring the LOVE LANGUAGES" bearing the

“A LOVE LANGUAGETM Resource” icon.

       45.     As a result of Plaintiff’s considerable research, expenditures, and efforts, the LOVE

LANGUAGES Marks have come to signify the high quality and value of the goods and services

designated by the LOVE LANGUAGES Marks, and they have acquired incalculable distinction,

reputation, and goodwill belonging exclusively to Plaintiff.

B.     Defendant Muhammad’s Infringing BLACK LOVE LANGUAGES Trademark
       Application and Defendants’ Infringing Use of the Same

       46.     Defendant Muhammad markets himself as a life coach, marriage counselor, and

sex therapist. Defendant Muhammad provides marriage and sex counseling services through his

company Defendant OneLove.

       47.     On information and belief, Defendants are currently in the same industry as Plaintiff

and provide nearly identical goods and services to those of Plaintiff, including printed materials

that are similar in nature to Plaintiff’s goods and services, which focus on building personal skills

and relationships.

       48.     Defendant Muhammad filed U.S. Trademark Application No. 90/380,334 on

December 14, 2020. Attached as Exhibit E is a true and correct copy of the TEAS Application

Form for U.S. Trademark Application No. 90/380,334.

       49.     U.S. Trademark Application No. 90/380,334 for BLACK LOVE LANGUAGES

covers the following good and services:

       Class 41: Publishing of books, e-books, audiobooks, oral presentations, music, and
       illustrations.




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       50.     On information and belief, Defendants began using the infringing BLACK LOVE

LANGUAGES mark on July 30, 2020, in connection with the listed goods and services on that

date and in commerce on August 8, 2020.

       51.     On information and belief, the goods and services Defendants provide under the

infringing BLACK LOVE LANGUAGES phrase include (i) publishing books, e-books,

audiobooks, oral presentations, music, and illustrations; (ii) providing relationship therapy; and

(iii) connecting consumers with therapists whose specialties range from marriage to relationships

to faith-based Christian counseling. These goods and services are highly similar to and directly

compete with the goods and services sold under Plaintiff’s LOVE LANGUAGES Marks. Evidence

of Defendants’ use of the infringing BLACK LOVE LANGUAGES mark is attached as Exhibit F.

       52.     Defendants’ infringing BLACK LOVE LANGUAGES goods and services are very

similar to Plaintiff’s goods and services that are sold in connection with the LOVE LANGUAGES

Marks, all relating to personal skills and relationships. For example, Plaintiff’s good and services

and Defendants’ goods and services target various kinds of relationships and how to grow and

understand one another within certain relationships.

       53.     On information and belief, Defendants sell their goods and services under the

infringing BLACK LOVE LANGUAGES phrase through the same channels of trade that Plaintiff

sells its goods and services under the LOVE LANGUAGES Marks, including online and social

media trade channels.

       54.     On information and belief, Defendants sell their goods and services under the

infringing BLACK LOVE LANGUAGES to the same types of consumers to whom the goods and

services are sold to under Plaintiff’s LOVE LANGUAGES Marks.




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       55.     Defendants’ infringing BLACK LOVE LANGUAGES phrase is highly similar to

Plaintiff’s the LOVE LANGUAGES Marks, as the two are highly similar in sight, sound, and

meaning. Both contain the dominant element “LOVE LANGUAGES.” As the infringing BLACK

LOVE LANGUAGES phrase and Plaintiff’s LOVE LANGUAGES Marks are used in connection

with competing goods and services, the marks are so similar that consumer confusion is likely.

       56.     Defendants are substantially encroaching on Plaintiff’s business as Defendants’

goods and services sold under the infringing BLACK LOVE LANGUAGES phrase directly

compete with Plaintiff’s goods and services sold under the LOVE LANGUAGES Marks.

       57.     Defendants’ infringing acts are likely to cause confusion, mistake, and deception

among the relevant consuming public as to the source of origin of Defendants’ goods and services

and have and are likely to deceive the relevant consuming public into mistakenly believing that

Defendants’ goods and services originate from, are associated or affiliated with, or are otherwise

authorized by Plaintiff. Moreover, the subject matter of the Defendants’ goods and services may

promote actions by consumers that undermine Dr. Chapman’s goal of building loving and lasting

relationships and are inconsistent with the biblical principles that form the basis of Dr. Chapman’s

work and Moody’s work.

       58.     Defendants’ infringing acts have therefore likely caused and are likely to cause

future immeasurable harm to the relevant consuming public. Specifically, given the devoted and

significant consumer following around Plaintiff’s LOVE LANGUAGES Marks, with more than

twenty million books sold, nearly eighty million LOVE LANGUAGE" quiz takers, and nearly

three million LOVE NUDGE" mobile app downloads (and prior to that, more than one million

LOVE LANGUAGE" Challenge mobile app downloads), consumers of Defendants’ infringing

goods and services are being misled and deceived into putting trust in infringing goods and services



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to guide their words and actions in maintaining and growing their most valued personal and

professional relationship. The potential harm to consumers is immeasurable.

       59.     Defendants’ use of its infringing BLACK LOVE LANGUAGES phrase is trading

off the goodwill accumulated by Plaintiff’s the LOVE LANGUAGES Marks, and is causing

confusion and deception in the marketplace, and is diverting potential sales of Plaintiff’s goods

and services to Defendant.

C.     Defendant OneLove’s Registration and Defendant Muhammad’s Use of the
       <blacklovelanguages.com> Domain Name

       60.     On information and belief, on or about April 19, 2021, Defendant OneLove

registered a domain name for <blacklovelanguages.com> (the “Domain Name”) with the registrar

GoDaddy.com, LLC (the “Registrar”). Defendant OneLove is currently the registrant of the

Domain Name. Attached hereto as Exhibit H is a true and correct copy of the WHOIS record for

the Domain Name as of April 17, 2022, identifying “OneLove Counseling Services” as the owner

of the Domain Name. OneLove’s website (Exhibit I) states that “Dr. Tiy-E Muhammad” is the

therapist providing relationship counseling and sex therapy services.

       61.     Defendant OneLove’s Domain Name incorporates the infringing BLACK LOVE

LANGUAGES phrase and Plaintiff’s LOVE LANGUAGES Marks.

       62.     Defendant Muhammad uses the Domain Name.

       63.     The Domain Name is identical or confusingly similar to the LOVE LANGUAGES

Marks, which were distinctive when Defendant OneLove registered the Domain Name and when

Defendant Muhammad began use of the Domain Name.

       64.     On information and belief, Defendants were both aware of Plaintiff’s rights in the

LOVE LANGUAGES Marks when it selected and registered the Domain Name, and knowingly




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and intentionally registered the Domain Name because of its similarity to the LOVE

LANGUAGES Marks.

        65.     On information and belief, Defendants have no legitimate rights in or to any

trademark or name that is similar to the Domain Name and is not legitimately known by any name

that is similar to the Domain Name.

        66.     Without Plaintiff’s authorization and, on information and belief, beginning after

Plaintiff acquired protectable exclusive rights in the LOVE LANGUAGES Marks, Defendants

posted a live website at the Domain Name (“Defendants’ Website”). Defendants’ Website remains

active as of the filing of this complaint.

        67.     Defendants’ Website consists of, among other things, (i) articles about relationships

and marriage; (ii) information about relationship counseling; (iii) a “directory” of therapists;

(iv) information on how to contribute articles to the website; (v) advice for married couples

including a search function for therapists located in Chicago, Illinois (see Exhibit J); and (vi) tips

on marriage separation and divorce. Attached as Exhibit J are true and correct screenshots of

Defendants’ Website as of April 17, 2022.

        68.     According to the November 5, 2021 specimen submitted by Defendant Muhammad

during prosecution of the BLACK LOVE LANGUAGES application, attached as Exhibit K,

Defendants’ Website also offers book publishing services, including (i) building the skills needed

to become a bestselling author of Black Love; (ii) mastering the fundamentals of cultural book

writing; (iii) creating a positive author mindset; (iv) writing your first book to become an author

of Love; and (v) publishing your book to become a published author of Love.




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D.     Plaintiff’s Cease-and-Desist Efforts

       69.    Plaintiff’s counsel has tried repeatedly without success to resolve this matter

amicably. On May 12, 2021, Plaintiff’s counsel spoke with Defendant Muhammad over the phone.

During that conversation, Plaintiff’s counsel objected to Defendant Muhammad’s use of Plaintiff’s

LOVE LANGUAGES Marks. Defendant Muhammad stated that he was unwilling to withdraw his

application for BLACK LOVE LANGUAGES and indicated that he was working on a book called

Black Love Languages. Defendant Muhammad refused to cease and desist using Plaintiff’s LOVE

LANGUAGES Marks.

       70.    On November 2 and November 5, 2021, Plaintiff’s counsel spoke with Defendant

Muhammad, objecting to his use of Plaintiff’s LOVE LANGUAGES Marks. Defendant

Muhammad again refused to cease and desist using Plaintiff’s LOVE LANGUAGES Marks.

       71.    Plaintiff’s counsel spoke with Defendant Muhammad again on December 4, 2021,

and on January 22, 2022. Defendant Muhammad again refused to cease and desist using Plaintiff’s

LOVE LANGUAGES Marks.

       72.    On March 1, 2022, Plaintiff’s counsel filed a Notice of Opposition against

Defendants’ U.S. Trademark Application No. 90/380,334 for BLACK LOVE LANGUAGES in

the Trademark Trial and Appeal Board. Attached as Exhibit L is a true and correct copy of

Opposition Proceeding No. 91274784. Upon filing this Complaint for Trademark Infringement,

Plaintiff’s will submit a Motion to Suspend for Civil Action to the Trademark Trial and Appeal

Board pursuant to 37 C.F.R. § 2.117, and TBMP § 510.02(a) to suspend the Opposition proceeding

before the Trademark Trial and Appeal Board until this Court resolves this Complaint for

Trademark Infringement.




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       73.     Defendants’ failure to cease use of the infringing BLACK LOVE LANGUAGES

mark and failure to abandon the infringing BLACK LOVE LANGUAGES application has

demonstrated that Defendants are not willing to cease its use of the infringing BLACK LOVE

LANGUAGES mark, and as such, would continue infringing on the Plaintiff’s rights.

       74.     Defendants’ acts are causing, and unless restrained, will continue to cause damage

and immediate irreparable harm to Plaintiff and to its valuable reputation and goodwill with the

consuming public for which Plaintiff has no adequate remedy at law.

                                FIRST CLAIM FOR RELIEF
                    Federal Trademark Infringement 15 U.S.C. § 1114(1)(a)

       75.     Plaintiff repeats and realleges paragraphs 1 through 74 above.

       76.     Plaintiff owns all rights, title, and interest in and to the LOVE LANGUAGES

Marks, including but not limited to all common law rights in the marks that have existed since

Plaintiff’s first use of THE FIVE LOVE LANGUAGES Mark in 1992 and THE 5 LOVE

LANGUAGES Mark in 2010.

       77.     Defendants’ unauthorized use in commerce of the infringing BLACK LOVE

LANGUAGES phrase began long after Plaintiff first used the LOVE LANGUAGES Marks to

identify its goods and services and is likely to deceive consumers as to the origin, source,

sponsorship, or affiliation of Defendants’ goods and services. Defendants’ use of the infringing

BLACK LOVE LANGUAGES phrase is also likely to cause consumers to believe, contrary to

fact, that Defendants’ goods and services are sold, authorized, endorsed, or sponsored by Plaintiff,

or that Defendants are in some way affiliated with or sponsored by Plaintiff. Defendants’ conduct

therefore constitutes trademark infringement in violation of Section 32(1) of the Lanham Act, 15

U.S.C. § 1114(1).




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       78.       Defendants’ conduct is causing immediate and irreparable harm and injury to

Plaintiff and is also trading off of the valuable goodwill that Plaintiff has developed in the LOVE

LANGUAGES Marks, both of which will continue to both damage Plaintiff and confuse the public

unless enjoined by this Court.

       79.       Defendants’ conduct is causing immediate and irreparable harm and injury to

Plaintiff by undermining and distorting the valuable goodwill that Plaintiff has developed in the

LOVE LANGUAGES Marks through its untested and inconsistent infringing use of the infringing

BLACK LOVE LANGUAGES mark that will continue to both damage Plaintiff and confuse the

public unless enjoined by this Court.

       80.       Defendants have refused to cease using the infringing BLACK LOVE

LANGUAGES phrase despite Plaintiff’s request that they do so. Defendants are on notice of their

infringing actions that therefore constitute knowing, deliberate, and willful infringement of the

LOVE LANGUAGES Marks and make this an exceptional case under 15 U.S.C. § 1117(a).

       81.       As a result of Defendants’ knowing, deliberate, and willful infringement of the

LOVE LANGUAGES Marks, Plaintiff has been irreparably harmed. Plaintiff has no adequate

remedy at law.

       82.       Plaintiff is entitled to, among other relief, injunctive relief, and an award of actual

damages, Defendants’ profits, enhanced damages and profits, reasonable attorney’s fees, and costs

of this action under Sections 34 and 35 of the Lanham Act, 15 U.S.C. §§ 1116, 1117, together with

prejudgment and post-judgment interest.

                               SECOND CLAIM FOR RELIEF
                      Federal Unfair Competition 15 U.S.C. § 1125(a)(1)(A)

       83.       Plaintiff repeats and realleges paragraphs 1 through 82 above.




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       84.      Plaintiff owns all right, title, and interest in and to the LOVE LANGUAGES Marks,

including but not limited to all common law rights in the marks that have existed since Plaintiff’s

first use of THE FIVE LOVE LANGUAGES Marks in 1992 and THE 5 LOVE LANGUAGES

Mark in 2010.

       85.      Defendants’ unauthorized use in commerce of the infringing BLACK LOVE

LANGUAGES phrase is likely to deceive consumers as to the origin, source, sponsorship, or

affiliation of Defendants’ goods and services and is likely to cause consumers to believe, contrary

to fact, that Defendants’ goods and services are sold, authorized, endorsed, or sponsored by

Plaintiff, or that Defendants are in some way affiliated with or sponsored by Plaintiff.

       86.      Defendants’ conduct constitutes unfair competition in violation of Section 43(a) of

the Lanham Act, 15 U.S.C. § 1125(a)(1)(A).

       87.      Defendants’ conduct is causing immediate and irreparable harm and injury to

Plaintiff, and to its goodwill and reputation, and will continue to both damage Plaintiff and confuse

the public unless enjoined by this Court. Plaintiff has no adequate remedy at law.

       88.      Defendants have refused to cease using the infringing BLACK LOVE

LANGUAGES phrase despite Plaintiff’s request that it do so. Defendants are on notice of their

infringing actions that therefore constitute knowing, deliberate, and willful infringement of the

LOVE LANGUAGES Marks, and make this an exceptional case under 15 U.S.C. § 1117(a).

       89.      Plaintiff is entitled to, among other relief, injunctive relief, and an award of actual

damages, Defendants’ profits, enhanced damages and profits, reasonable attorney’s fees, and costs

of the action under Section 34 and 35 of the Lanham Act, 15 U.S.C. §§ 1116, 1117, together with

prejudgment and post-judgment interest.




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                               THIRD CLAIM FOR RELIEF
                            Trademark Dilution 15 U.S.C. § 1125(c)

       90.      Plaintiff repeats and realleges paragraphs 1 through 89 above.

       91.      Plaintiff owns all right, title, and interest in and to the LOVE LANGUAGES Marks,

including but not limited to all common law rights in the marks that have existed since Plaintiff’s

first use of THE FIVE LOVE LANGUAGES Mark in 1992 and THE 5 LOVE LANGUAGES

Mark in 2010.

       92.      This Claim is based on trademark dilution under Section 43(a) of the Lanham Act,

15 U.S.C. § 1125(c).

       93.      Plaintiff’s LOVE LANGUAGES Marks are distinctive and famous marks within

the meaning of Section 43(c) of the Lanham Act, 15 U.S.C. § 1125(c).

       94.      Plaintiff’s LOVE LANGUAGES Marks became distinctive and famous prior to the

Defendants’ acts.

       95.      Defendants’ acts have diluted and will, unless enjoined, continue to dilute, and are

likely to dilute the distinctive quality of Plaintiff’s LOVE LANGUAGES Marks.

       96.      Defendants’ acts have tarnished and will, unless enjoined, continue to tarnish, and

are likely to tarnish Plaintiff’s LOVE LANGUAGES Marks by undermining and damaging the

valuable goodwill associated therewith.

       97.      Defendants’ acts are intentional and willful in violation of Section 43(c)(1) of the

Lanham Act, and have already caused Plaintiff irreparable damage and will, unless enjoined,

continue to so damage Plaintiff, which has no adequate remedy at law.

       98.      Plaintiff is entitled to, among other relief, an award of actual damages, Defendants’

profits, enhanced damages and profits, reasonable attorneys’ fees, and costs of the action under




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Sections 34 and 35 of the Lanham Act, 15 U.S.C. §§ 1116, 1117, together with prejudgment and

post-judgement interest.

                                FOURTH CLAIM FOR RELIEF
                               Cybersquatting 15 U.S.C. § 1125(d)

       99.      Plaintiff repeats and realleges paragraphs 1 through 98 above.

       100.     Plaintiff owns all rights in and to the LOVE LANGUAGES Marks, which are

strong and distinctive, and were strong and distinctive as of the date that Defendant registered the

Domain Name.

       101.     Defendant OneLove registered and both Defendants use the Domain Name, which

is confusingly similar to Plaintiff’s LOVE LANGUAGES Marks.

       102.     Defendant OneLove registered and both Defendants use the Domain Name with an

intent to profit from its confusing similarity to Plaintiff’s LOVE LANGUAGES Marks. Among

other things, on information and belief:

             a. Defendants registered and/or used the Domain Name despite knowing that

                Defendants had no rights in any name or mark and was not known by any name

                that was referenced or reflected in the Domain Name;

             b. Defendants made no bona fide, non-infringing, commercial use or fair non-

                commercial use of the Domain Name;

             c. Defendants intended to divert consumers and donors looking for Plaintiff’s services

                online to Defendants’ Website by exploiting the confusing similarity of the Domain

                Name and the LOVE LANGUAGES Marks for Defendants’ commercial gain;

       103.     Defendants’ conduct is directly and proximately causing substantial, immediate,

and irreparable harm and injury to Plaintiff, and to its goodwill and reputation and will continue

to damage Plaintiff unless enjoined by this court. Plaintiff has no adequate remedy at law.

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       104.    Plaintiff is entitled to injunctive relief pursuant to 15 U.S.C. §§ 1116 and

1125(d)(1)(C), including, among other injunctive relief, cancellation of Defendant OneLove’s

registration of the Domain Name.

       105.    Plaintiff is further entitled to recover its damages and Defendants’ profits, enhanced

as the court deems appropriate and equitable, in amounts to be proven at trial, pursuant to 15 U.S.C.

§ 1117(a). Alternatively, Plaintiff is entitled to maximum statutory damages for $100,000 for the

Domain Name pursuant to 15 U.S.C. § 1117(d) from each of the Defendants.

       106.    Plaintiff is further entitled to recover its attorneys’ fees and costs, together with

prejudgment and post-judgment interest.

                                 FIFTH CLAIM FOR RELIEF
                          Illinois Uniform Deceptive Trade Practices

       107.    Plaintiff repeats and realleges paragraphs 1 through 106 above.

       108.    Plaintiff owns all rights, title, and interest in and to the Plaintiff’s LOVE

LANGUAGES Marks, including but not limited to all common law rights in such marks due to

Plaintiff’s first use of the LOVE LANGUAGES Marks in the State of Illinois.

       109.    This Claim is based on unfair competition and deceptive trade practices in violation

of the Illinois Uniform Deceptive Trade Practices Act (815 ILCS § 510 et seq.).

       110.    Plaintiff has used and is currently using the LOVE LANGUAGES Marks to

identify its goods and services to distinguish them from the goods and services of others.

       111.    Defendants’ unauthorized use of a phrase confusingly similar to the LOVE

LANGUAGES Marks demonstrates Defendants’ willful or intentional intent to pass off their

goods and services as those of the Plaintiff’s in violation of 815 ILCS § 510/2(a)(1).

       112.    Defendants’ unauthorized use of a phrase confusingly similar to the LOVE

LANGUAGES Marks for their goods and services is likely to cause confusion, mistake, or

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deception as to the source, affiliation, connection, or association of Defendants’ goods with

Plaintiff, or as to the sponsorship, approval, or affiliation of Defendants with Plaintiff, in addition

to engaging in other conduct that similarly creates a likelihood of confusion or misunderstanding

in violation of 815 ILCS § 510/2 (a)(2), (a)(3), (a)(12).

       113.    Defendants adopted and used marks confusingly similar to the LOVE

LANGUAGES Marks with actual or constructive notice or knowledge of Plaintiff’s superior

exclusive rights in the LOVE LANGUAGES Marks.

       114.    Defendants have refused to cease the confusingly similar and infringing use of the

LOVE LANGUAGES Marks despite Plaintiff’s request that they do so. Defendants’ actions

therefore constitute knowing, deliberate, and willful infringement of Plaintiff’s the LOVE

LANGUAGES Marks and make this an exceptional case under 815 ILCS § 510/3.

       115.    As a result of Defendants’ knowing, deliberate, and willful infringement of

Plaintiff’s LOVE LANGUAGES Marks, Plaintiff has been irreparably harmed. Plaintiff has no

adequate remedy at law.

       116.    Defendants will continue such infringement unless enjoined by this Court.

       117.    Plaintiff is entitled to, among other relief, an award of actual damages, Defendants’

profits, enhanced damages and profits, reasonable attorneys’ fees, and costs of the action under

815 ILCS § 510/1 et seq., together with prejudgment and post-judgement interest.

                                  SIXTH CLAIM FOR RELIEF
                        Illinois Common Law Trademark Infringement

       118.    Plaintiff repeats and realleges paragraphs 1 through 117 above.

       119.    Defendants’ unauthorized use in commerce of the infringing BLACK LOVE

LANGUAGES phrase is likely to deceive consumers as to the origin, source, sponsorship, or

affiliation of Defendants’ goods and services, and is likely to cause consumers to believe, contrary


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to fact, that Defendants’ goods are sold, authorized, endorsed, or sponsored by Plaintiff, or that

Defendants are in some way affiliated with or sponsored by Plaintiff.

         120.      Defendants’ acts constitute trademark infringement in violation of Illinois common

law.

         121.      Defendants will continue such infringement unless enjoined by this Court.

                                             JURY DEMAND

         Plaintiff hereby demands a jury trial on all matters and issues triable by jury.

                                         PRAYER FOR RELIEF

         WHEREFORE, Plaintiff The Moody Bible Institute of Chicago respectfully requests that

this Court enter a Judgment and Order in its favor and against Defendants as follows:

         A.        That Defendants have violated Section 32 of the Lanham Act, Section 43(a) of the

Lanham Act, Section 43(c) of the Lanham Act, and Section 43(d) of the Lanham Act.

         B.        That Defendants have violated Illinois common law trademark infringement and

the Illinois Uniform Deceptive Trade Practices Act (815 ILCS § 510/1 et seq.).

         C.        Granting an injunction permanently enjoining the Defendant, its employees, agents,

officers, directors, attorneys, successors, affiliates, subsidiaries, and assigns, and all those in active

concert and participation with any of the foregoing persons and entities who receive actual notice

of the Court’s order by personal service or otherwise from:

              i.   engaging in any activity that infringes Plaintiff’s LOVE LANGUAGES Marks;

          ii.      injuring Plaintiff’s business reputation and goodwill associated with the LOVE

                   LANGUAGES Marks and from otherwise unfairly competing, directly or

                   indirectly, with Plaintiff;

          iii.     making or displaying any statement, representation, or depiction that is likely to

                   lead the public or the trade to believe that (i) Defendants’ goods are in any manner

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               approved, endorsed, licensed, sponsored, authorized, or franchised by or

               associated, affiliated, or otherwise connected with Plaintiff or (ii) Plaintiff’s goods

               and services are in any manner approved, endorsed, licensed, sponsored,

               authorized, or franchised by or associated, affiliated, or otherwise connected with

               Defendant;

        iv.    registering or applying to register any trademark, service mark, domain name, trade

               name, or other source identifier or symbol of origin consisting of or incorporating

               the infringing BLACK LOVE LANGUAGES phrase or any other mark that

               infringes or is likely to be confused with the LOVE LANGUAGES Marks, or any

               goods and services of Plaintiff, or Plaintiff as their source;

         v.    engaging in any activity that is likely to dilute the distinctiveness of or tarnish

               Plaintiff’s LOVE LANGUAGES Marks; and

        vi.    aiding, assisting, or abetting any other individual or entity in doing any act

               prohibited by sub-paragraphs (i) through (v).

       D.      Granting such other and further relief as the Court may deem proper to prevent the

public from deriving the false impression that any goods or services manufactured, sold,

distributed, licensed, marketed, advertised, promoted, or otherwise offered or circulated by

Defendants are in any way approved, endorsed, licensed, sponsored, authorized, or franchised by

or associated, affiliated, or otherwise connected with Plaintiff or constitute or are connected with

Plaintiff’s goods and services.

       E.      Directing Defendants to immediately cease all display, distribution, promotion,

sale, offer for sale and/or use of any and all materials that feature or bear any designation or mark

comprising of or incorporating BLACK LOVE LANGUAGES or any other mark that is a



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counterfeit, copy, simulation, confusingly similar variation, or colorable imitation of the LOVE

LANGUAGES Marks, and to immediately remove them from public access and view.

       F.      Awarding Plaintiff an amount up to three times the amount of its actual damages,

in accordance with Section 35(a) of the Lanham Act (15 U.S.C. § 1117(a)).

       G.      Awarding Plaintiff $100,000 in statutory damages from each Defendant in

accordance with Section 43(d) of the Lanham Act (15 U.S.C. § 1117(d)).

       H.      Directing that Defendants transfer to Plaintiff its <blacklovelanguages.com>

domain name.

       I.      Directing that Defendants account to and pay over to Plaintiff all profits realized

by its wrongful acts in accordance with Section 35(a) of the Lanham Act (15 U.S.C. § 1117(a)),

enhanced as appropriate to compensate Plaintiff for the damages caused thereby.

       J.      Awarding Plaintiff punitive and exemplary damages as the Court finds appropriate

to deter any future willful infringement.

       K.      Declaring that this is an exceptional case pursuant to Section 35(a) of the Lanham

Act and awarding Plaintiff its costs and reasonable attorney’s fees thereunder (15 U.S.C.

§ 1117(a)).

       L.      Awarding Plaintiff interest, including prejudgment and post-judgment interest, on

the foregoing sums.

       M.      Awarding such other and further relief as the Court deems just and proper.




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Dated: May 5, 2022                        Taft Stettinius & Hollister LLP

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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 THE MOODY BIBLE INSTITUTE OF                         )
 CHICAGO,                                             )
                                                      )
                                         Plaintiff,   )
                                                      )    Case No.
                         v.                           )
                                                      )    Judge
 TIY-E MUHAMMAD, and ONELOVE                          )
 COUNSELING SERVICES (TM), LLC,                       )
                                                      )
                                         Defendant.

                                          EXHIBIT LIST

                                           COMPLAINT

  Exhibit     Description
  A           Moody trademark registration and applications
  B           Representative samples showing Plaintiff’s use of The Five Love Languages
              mark in connection with the registered goods
  C           Representative samples showing Plaintiff’s use of The 5 Love Languages mark
              in connection with the registered goods
  D           Representative samples of Plaintiff’s goods and services offered and sold under
              the Love Languages Marks
  E           TEAS Application Form for Trademark Application No. 90/380,334
  F           Defendants’ uses of infringing Black Love Languages mark
  G           Jurisdiction Allegations
  H           WHOIS record for the Domain Name as of April 17, 2022, identifying “OneLove
              Counseling Services” as the owner of the Domain Name
  I           One Love Website
  J           Blacklovelanguages website
  K           Blacklovelanguages specimen
  L           TTAB Opposition Proceeding




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